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                          UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                DALLAS DIVISION

  CHARLENE CARTER,                               §
                                                 §
            Plaintiff,                           §
                                                 §
  v.                                             §
                                                 §   Civil Action No. 3:17-cv-2278-X
  TRANSPORT WORKERS UNION                        §
  OF AMERICA, LOCAL 556, and                     §
  SOUTHWEST AIRLINES CO.,                        §
                                                 §
            Defendants.                          §

                                       JUDGMENT

       A jury found that Southwest Airlines Co. (“Southwest”) and the flight

attendants’ union, Transport Workers Union Local 556 (“Local 556”), discriminated

against Charlene Carter for her protected speech about religion and unions. And

through a memorandum opinion and order issued earlier today, the Court made

rulings on remaining issues like reinstatement, prejudgment interest, and injunctive

relief. The Court now enters judgment on the verdict in the following manner:

       1.       The Court ORDERS that Charlene Carter be reinstated as a Southwest

                flight attendant with full seniority and benefits.

       2.       The Court ORDERS that Southwest and Local 556 are jointly and

                severally liable to Carter for $150,000 in back pay.

       3.       The Court ORDERS that Defendants are jointly and severally liable to

                Carter for $60,180.82 in prejudgment interest.

       4.       The Court ORDERS Local 556 to pay Carter $300,000 in compensatory



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          and punitive damages and ORDERS Southwest to pay Carter $300,000

          in compensatory and punitive damages.

    5.    The Court ENJOINS Defendants from discriminating against

          Southwest flight attendants for their religious practices and beliefs,

          including—but not limited to—those expressed on social media and

          those concerning abortion.

    6.    The      Court   ENJOINS     Defendants   from    failing   to   reasonably

          accommodate Southwest flight attendants’ sincerely held religious

          beliefs, practices, and observances.

    7.    The Court ENJOINS Defendants from discriminating against Carter

          for exercising her rights, under the Railway Labor Act, to resign from

          membership in Local 556 and to object to the forced payment of political

          and other nonchargeable union expenses, including—but not limited

          to—objections to union expenditures that are expressed in social media

          posts.

    8.    The Court ORDERS Local 556 to post the jury’s verdict and this

          judgment in conspicuous places at the union hall for a 60-day period and

          issue them electronically to all union members.

    9.    The Court ORDERS Southwest to post the jury’s verdict and this

          judgment on company bulletin boards for a 60-day period and to email

          the jury’s verdict and this judgment to all Southwest flight attendants.




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      10.    The Court ORDERS Southwest and Local 556 to inform Southwest

             flight attendants that, under Title VII, the Defendants may not

             discriminate against Southwest flight attendants for their religious

             practices and beliefs, including—but not limited to—those expressed on

             social media and those concerning abortion.

      Within 14 days, Carter must file a motion for attorney’s fees and a separate

bill of costs pursuant to Federal Rule of Civil Procedure 54(d).

      IT IS SO ORDERED this 5th day of December, 2022.




                                               ___________________________________
                                               BRANTLEY STARR
                                               UNITED STATES DISTRICT JUDGE




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